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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

v.                                   No. 4:17cr00319 JM

MORGAN STEPHEN POOLE (1)                                                    DEFENDANTS
NATHANIEL BURROUGHS (2)

                   GENERAL CRIMINAL SCHEDULING ORDER

       The Court orders the following schedule to move this case forward fairly and
efficiently to a prompt resolution.

     •    Thirty Days Before Trial Date - File a Joint Report answering these questions:

             1. Is this case ready for trial or a plea?

             2. If trial-ready, how many six-hour days are needed?

             3. If a party intends to seek a continuance, how long a delay will be requested
                and why?

     •    Twenty-One Days Before Trial Date - In trial-ready cases, file any pre-trial
          motions and file notice of submitting proposed jury instructions to chambers.
          Focus on and submit only elements instructions, citing models and authority;
          the Court will use standard introductory and closing instructions. A response to any
          motion is due seven calendar days after the motion is filed.

     •    Fifteen Days Before Trial Date - In cases that are not trial- ready or where a
          guilty plea will be offered, do one of two things:

             1. Get a plea date set with chambers and submit the proposed plea agreement to
                chambers; or

             2. File a motion for continuance.

     IT IS SO ORDERED this 21st day of September, 2018.




                                             James M. Moody Jr.
                                             United States District Judge
